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   6 EQUIFAX INC.
   7
   8
                         UNITED STATES DISTRICT COURT
   9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11 DAVEDIA SHARMAINE LAMAR,                   Case No. 5:18-CV-01369-JFW-SK
  12
              Plaintiff,
                                                DEFENDANT EQUIFAX INC.’S
  13                                            RESPONSE TO ORDER TO SHOW
              v.
                                                CAUSE REGARDING PROPOSED
  14                                            STATEMENT OF DECISION
     EQUIFAX INC,
  15
              Defendant.
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          EQUIFAX’S RESPONSE TO ORDER TO SHOW CAUSE REGARDING PROPOSED
             STATEMENT OF DECISION – USDC CASE NO. 5:18-CV-01369-JFW-SK
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   1 TO THE COURT AND ALL PARTIES OF RECORD:
   2        Defendant Equifax Inc. (“Equifax”) submits the following response, in
   3 writing, to the Court’s August 17, 2018 order to show cause (“OSC”) regarding
   4 Equifax’s Proposed Statement of Decision as required by Paragraph 5(f) of the
   5 Court’s Standing Order.
   6        Equifax complied with Paragraph 5(f) of the Court’s Standing Order. On
   7 August 14, 2018, Equifax lodged its Proposed Statement of Decision Granting
   8 Defendant Equifax Inc.’s Motion for Immediate Stay as a PDF attachment to a
   9 filed Notice of Lodging of Proposed Statement of Decision, as required by
  10 Paragraph 5(f) of the Standing Order and Local Rule 5-4.4. See Dkt. Nos. 14 and
  11 14-1. A Word version of the Proposed Statement of Decision was also emailed to
  12 chambers on August 14, 2018, and courtesy and mandatory chambers copies were
  13 thereafter delivered to the department as well.
  14        Accordingly, Equifax respectfully requests that the Court take notice of its
  15 compliance by not issuing sanctions as described in its OSC.
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  17 DATED: August 20, 2018                        KING & SPALDING LLP
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  19                                               By:   /s/ Steven D. Park
                                                         Steven D. Park
  20                                                     Brian Priestley
                                                         Attorneys for Defendant
  21                                                     EQUIFAX INC.
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          EQUIFAX’S RESPONSE TO ORDER TO SHOW CAUSE REGARDING PROPOSED
             STATEMENT OF DECISION – USDC CASE NO. 5:18-CV-01369-JFW-SK
